Rex Lamont Butler
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(907) 272-1497
Attorney For Kaleb Lee Basey

                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF ALASKA

                                                       )
UNITED STATES OF AMERICA,                              )
                                                       )
                                          Plaintiff,   )
v.                                                     )
                                                       )
KALEB LEE BASEY,                                       )
                                                       )
                                       Defendant.      )
                                                       )
Case No. 4:14-cr-00028-RRB-SAO


                                      TRIAL BRIEF



       Comes Now, Kaleb Lee Basey, by and through his attorney, Rex Lamont Butler &

Associates, Inc., and respectfully submits the following trial brief:.

                                         I.
                                 EVIDENTIARY ISSUES


       Basey, on the grounds of hearsay, objects to any witness testifying about what was

stated to them by others.




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       Basey will object to any testimony concerning the search of his barracks room. This

search was made pursuant to an invalid search warrant.

       Any previously undiscovered statements of others may require continuances during

trial to permit an investigation by the defense.

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                                      II
                         RECIPROCAL DISCOVERY ISSUES


       We have no physical evidence to present for Reciprocal Discovery.



                                          III.
                                       WITNESSES


       The Defense will cross-examine the government’s witnesses and then determine if

any additional witnesses must be called.

                                             IV
                                       EXHIBITS
       The defense has no exhibits at this time.

                                         V
                                 JUROR COUNSELING


       Basey objects to the jurors being advised, prior to the verdict, that they can obtain

counseling for trauma. If such an advisement is given before a verdict is returned, the

jurors’ emotions would be inflamed.


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      Respectfully submitted this 8th day of December, 2017.

                                                     /s/ Rex Lamont Butler
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Certificate of Service



This is to certify that a true and correct copy of the foregoing TRIAL BRIEF has been

served electronically on AUSA Kyle Reardon of the U.S. Attorney’s Office on this 8th

day of December, 2017.



/s/ Rex Lamont Butler

Rex Lamont Butler (ABA 8310105)




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